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                                       DISTRICT ATTORNEY
                                        COUNTY OF NEW YORK
                                           ONE HOGAN PLACE
                                           New York, N. Y. 10013
                                              (212) 335-9000




CYRUS R. VANCE, JR.
   DISTRICT ATTORNEY




                                                            November 19, 2019
   BY ECF
   Honorable Kevin Nathaniel Fox
   United States Magistrate Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

              Re: Heleen Mees v. City of New York, et al., 19 Civ. 7346 (AJN)(KNF)

   Dear Judge Fox:

           In accordance with Your Honor’s Order dated November 18, 2019, see ECF 20,
   enclosed please find a proposed order, submitted with the approval of all parties, the
   text of which makes explicit that only photographic evidentiary material unsealed by
   the Your Honor’s Order dated September 5, 2019 is to be kept confidential.

                                                            Respectfully submitted,

                                                            Elizabeth N. Krasnow/s
                                                            Elizabeth N. Krasnow
                                                            Assistant District Attorney


   To:        Heleen Mees (By E-Mail and Mail)
              30 Main Street, Apt. 11H
              Brooklyn, New York 11201
              heleen@heleenmees.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HELEEN MEES,                                         ORDER

                                    Plaintiff,        19 Civ. 7346 (AJN)(KNF)


                     -against-


 CITY OF NEW YORK, MANHATTAN
 DISTRICT ATTORNEY’S OFFICE,
 CYRUS R. VANCE, JR., NITIN SAVUR,
 JEANINE LAUNAY, SAMANTHA
 SCHOTT,

                                 Defendants.


       UPON THE APPLICATION of plaintiff pro se Heleen Mees, posted to the

electronic docket on September 5, 2019, requesting that “photographic evidentiary

material” in this case be treated with strict confidentiality and the utmost care and

accessed only on a need to know basis, see ECF 13, and with the consent of defendants

the City of New York, the New York County District Attorney’s Office, and the

individually-named defendants employed by the District Attorney’s Office; and

       IT IS HEREBY ORDERED that, pursuant to Rule 26(c) of the Federal Rules

of Civil Procedure, “photographic evidentiary material” in the law enforcement records

that were unsealed by virtue of the Court’s prior Order of September 5, 2019 shall be

deemed confidential, be accessed only on a need to know basis, and the parties shall

safeguard them from public dissemination. Only photographic evidentiary material

unsealed by the Court’s prior September 5, 2019 Order is to be kept confidential.
                                            1
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Other documents in the law enforcement records that were unsealed by virtue of the

Court’s prior Order of September 5, 2019, are not subject to this Order and can be

used by the parties for any purpose, including in motion practice.

         This Order modifies the Court’s prior Order of September 5, 2019.


Dated:         New York, New York
               ___________, 2019


                                    ____________________________________
                                    HONORABLE KEVIN NATHANIEL FOX
                                    UNITED STATES MAGISTRATE JUDGE




                                           2
